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 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. CR S 07 00314 FCD
10                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
11                                       )                CONTINUING DEADLINE FOR
           v.                            )                SUPPLEMENTAL POINTS AND
12                                       )                AUTHORITIES
     TERESA MARIA MORALES, et al.,       )
13                                       )
                                         )
14               Defendants.             )
     ____________________________________)
15
     The parties hereby stipulate to the following:
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            1. Since the evidentiary hearing concerning the defendant’s motion to suppress her
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            statement, the court has set a deadline of January 29, 2010 for the filing of supplemental
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            points and authorities.
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            2. Both counsel for the defendant and counsel for the government are requesting
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            additional time to review the transcripts and draft a supplemental points and authorities.
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            Counsel for the government has been involved in litigation concerning suppression of
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            evidence in another case. Therefore, it is requested that the deadline for filing
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            simultaneous supplemental points and authorities be continued to February 2, 2010.
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 1
         DATED: January 29, 2010          /s/ Tim Warriner
 2                                        Attorney for defendant, TERESA MARIA MORALES
 3
         DATED: January 29, 2010          /s/ Matthew Stegman
 4                                        Assistant U.S. Attorney
 5
 6
 7
                                               ORDER
 8
            GOOD CAUSE APPEARING, it is hereby ordered that the deadline for both parties to
 9
         file supplemental points and authorities concerning defendant’s motion to suppress her
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         statement be continued to February 2, 2010.
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     .   DATED: January 29, 2010
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                                                           _______________________________________
14                                                         FRANK C. DAMRELL, JR.
                                                           UNITED STATES DISTRICT JUDGE
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